        Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND



UNITED STATES OF AMERICA               )
                                       )
                v.                     )       Case No. 19-CR-449
                                       )
KENNETH W. RAVENELL, et al.,           )          UNDER SEAL
                                       )
           Defendants.                 )


      DEFENDANTS’ REPLY REGARDING WHETHER ANY PENDING
       MOTIONS HAVE BEEN RENDERED MOOT BY THE SECOND
                  SUPERSENDING INDICTMENT

      The government correctly states that the filing of a superseding indictment

does not void a previously filed indictment. Gov’t Resp. at 1, ECF 312. It incorrectly

states that the Fourth Circuit has not addressed the question. It has, albeit in an

unpublished decision. United States v. Jordan, 807 F. App'x 201, 202 (4th Cir. 2020)

(“A superseding indictment is ‘a second indictment issued in the absence of a

dismissal of the first.’ Thus, the superseding indictment and the original indictment

can coexist ….”) (citations omitted). Because the Superseding Indictment remains

pending, all of the unresolved motions that have been filed, including Defendants’

Motion to Disclose the Government's Presentation of the Law to the Grand Jury, ECF

184, are not moot.

      Furthermore, Federal Rule 12(d) requires courts to “decide every pretrial

motion before trial” in the absence of good cause to defer a ruling. Fed. R. Crim. P.

12(d). Nothing in the Federal Rules or statutes suggests that the mere filing of a
        Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 2 of 7



superseding indictment “procedurally moots” previously-filed motions that remain

applicable to both an original and superseding indictments. As such, the conclusion

that the defense must refile or renew un-adjudicated pretrial motions would be

contrary to Federal Rule of Criminal Procedure 2 requiring the Federal Rules to be

construed “to secure simplicity in procedure and fairness in administration, and to

eliminate unjustifiable expense and delay.” Fed. R. Crim. P. 2. Cf. Davis v. Fidelity

Technologies Corp., 180 F.R.D. 329 (W.D. Tenn. 1998) (refusing to require plaintiff to

“perform the useless act of refiling [a] motion” that was prematurely filed in

accordance with Federal Rule of Civil Procedure 1 that Rules should promote just,

speedy, and inexpensive determination of every action).

      The government is also incorrect that questions of fact arising from the

documentation of R.B.’s exculpatory statements preclude the Court from deciding as

a matter of law that Counts Four, Five, Six, and Seven should be dismissed pursuant

to 18 U.S.C. § 1515(c). Based on the allegations in the indictment and undisputed

facts, there is no material dispute with respect to the lawfulness of the KWR

Combined Notes with R.B.’s signature, the Gordon declaration, and the letter to a

U.S. District Judge.

      The only reason for the defense to document R.B.’s exculpatory statements

from the September 9 and 10, 2017, interview was for use as impeachment at trial

pursuant to Federal Rule of Evidence 613. Joyner v. United States, 547 F.2d 1199,

1202 (4th Cir. 1977) (“The long-accepted rule in American courts has been that prior

inconsistent statements are not to be treated as having any substantive or



                                          2
        Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 3 of 7



independent testimonial value. Consequently, such have been admitted solely for

impeachment purposes .…”); cf. Intel Corp. v. VIA Techs., Inc., 204 F.R.D. 450, 451–

52 (N.D. Cal. 2001) (“[W]itnesses testify orally at trial. Their prior declarations, if

any, evaporate for all practical purposes and are made part of the evidentiary record

only via impeachment.”). In other words, “prior self-contradictions are not to be

treated as having independent testimonial value.” Martin v. United States, 528 F.2d

1157, 1159-60 (4th Cir. 1975).

      The question of law for purposes of the outstanding Motion to Dismiss the

obstruction counts based upon 18 U.S.C. § 1515(c) is thus whether the Second

Superseding Indictment (along with the undisputed facts) sufficiently allege conduct

done with corrupt or wrongful intent that does not constitute the provision of lawful

and bona fide legal representation services.

      The only allegation in the Second Superseding Indictment that addresses

substantive impeachment evidence is that the defendants wrongly documented that

R.B. assented to all 53 exculpatory statements in the KWR Combined Notes, when in

fact “R.B. never read or acknowledged the truthfulness of” items 23-26. Second

Superseding Indictment Count 4 ¶¶ 37, 84. Yet the Second Superseding Indictment

mirrors the Superseding Indictment in that it never alleges that “the defendants

knowingly included the four omitted statements in the list” of exculpatory statements

assented to by R.B. Reply Support 1515(c) Mot. Dismiss at 13, ECF 242. Nor could it,

given the undisputed fact that R.B. agreed to read from the list and “answer every

question,” and then skipped the four items while reading from the only copy of the



                                          3
        Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 4 of 7



KWR Combined Notes across the table from Mr. Treem and Mr. Gordon. Id.; Mot.

Dismiss at 5 n.2, ECF 173. 1

      The failure of the Second Superseding Indictment to allege that the Defendants

intentionally included the four omitted statements in describing R.B.’s prior assent

to “all 53 exculpatory statements in the KWR Combined Notes” requires dismissal of

that allegation. United States v. Pupo, 841 F.2d 1235, 1239 (4th Cir. 1988) (failure to

allege defendants acted knowingly or intentionally requires dismissal of counts).

       The remaining allegations about the documentation of R.B.’s prior statements

— that R.B. was never asked if he had changes to make before signing the KWR

Combined Notes, that R.B. did not consider the accuracy of the statements overnight,

and that R.B. did not express hesitancy, disapproval, or disagreement when he

affirmed the exculpatory statements on September 9, 2017 — are likewise “not to be

treated as having any substantive or independent testimonial value.” Joyner, 547

F.2d at 1202. Nor do these alleged misrepresentations affect the admissibility of the

documents at issue as extrinsic evidence of a prior inconsistent statement. Cf. Frazier

v. Cupp, 394 U.S. 731, 739 (1969) (holding that factual misrepresentations by police

to obtain confession did not make it inadmissible); Illinois v. Perkins, 496 U.S. 292,

297 (1990) (same); United States v. Whitfield, 695 F.3d 288, 303 (4th Cir. 2012)



1  In the Due Process Protection Act Motion, Defendants requested that the
government disclose whether R.B., while reading the list of exculpatory statements,
knew that he skipped statements numbered 23-26. ECF 222 at 4-5. The government
has not produced this information to the defense. But it is reasonable to infer that
the government could not, in good faith, accuse the defendants of knowingly making
a false statement if R.B. did not realize — after agreeing to review every statement
— that he had skipped over the four items.
                                          4
        Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 5 of 7



(misleading or deceptive conduct that does not “critically impair[]” a defendant’s

“capacity for self-determination” does not render confession inadmissible).

      Conduct designed to obtain admissible evidence for use in a trial falls squarely

within the definition of lawful, bona fide, legal representation services for purposes

of 18 U.S.C. § 1515(c). In this case, the undisputed purpose of documenting R.B.’s

exculpatory statements was entirely lawful and authorized by Federal Rule of

Evidence 613. Furthermore, the Second Superseding Indictment fails to allege that

the defendants knowingly fabricated any exculpatory statements for potential use in

impeaching R.B.’s adverse testimony at a trial.

      The claim that – even though the defendants engaged in entirely lawful legal

representation by documenting R.B.’s exculpatory statements about Mr. Ravenell –

the defendants committed multiple felonies for the purpose of wrongly recording that

R.B. considered his answers overnight, was asked if he wanted to make changes to

the KWR Combined Notes, and did not hesitate in affirming the exculpatory

statements on September 9, 2017, makes no sense. Indeed, the government has no

answer to the argument that alleged misstatements about the manner in which R.B.

agreed to the exculpatory statements fail to establish obstructive intent. Defts’ Resp.

Regarding Mootness, ECF 294, at 2-3 (citing Arthur Andersen LLP v. United States,

544 U.S. 696, 705–06 (2005) (corrupt intent requires proof that defendant is

“conscious of wrongdoing” and acts with “wrongful, immoral, depraved, or evil”

intent); United States v. Edlind, 887 F.3d 166, 173 (4th Cir. 2018) (“[T]he word

‘corruptly’ is what serves to separate the criminal and innocent acts of influence.”)



                                          5
         Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 6 of 7



(internal citation and quotation marks omitted); United States v. Stevens, 771

F.Supp.2d 556, 562 (D. Md, 2011) (holding that 18 U.S.C. § 1519 requires “proof that

[a] defendant acted with specific, wrongful intent” to obstruct justice)).

      Finally, the Second Superseding Indictment contains identical language from

the Superseding Indictment establishing that R.B. implied that he would provide

favorable testimony about Mr. Ravenell in return for money. Second Superseding

Indictment ¶¶ 34, 59, 63, 79; Reply Support Mot. Dismiss 1515(c) at 17-18. Those

allegations demonstrate as a matter of law that the letter to the U.S. District Judge

was done for a lawful purpose. See Mot. Dismiss ECF 173 at 9 n.3 (citing United

States v. Shaffer Equip. Co., 11 F.3d 450, 457-58 (4th Cir. 1993)).

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                                           6
Case 1:19-cr-00449-LO Document 314 Filed 08/30/21 Page 7 of 7




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                              7
